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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 SOPHIA PARKER STUDIOS, INC.                       Case No. 1:24-cv-02086-PAB
 (t/a WIFE NYC),
                                                   Judge Pamela A Barker
         Plaintiff,
                                                   Magistrate Judge Reuben J. Shepherd
 v.

 ALICE TEMPERLEY MBE, TMLL LTD.                    DEFENDANT ROMO, INC.’S MOTION
 (t/a TEMPERLEY LONDON),                           TO DISMISS FIRST AMENDED
 TEMPERLEY HOLDINGS LTD. (t/a                      COMPLAINT PURSUANT TO
 TEMPERLEY HOLDINGS), ROMO LTD.                    FEDERAL RULE OF CIVIL
 (t/a ROMO and/or THE ROMO GROUP),                 PROCEDURE 12(b)(6)
 ROMO (HOLDINGS) LTD., ROMO, INC.
 (t/a ROMO FABRICS AND
 WALLCOVERINGS and ROMO USA), THE
 ROMO GROUP LTD., AND DOES 1-20,
 inclusive,

         Defendants.


DEFENDANT ROMO, INC.’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

        Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Romo, Inc., by and

through the undersigned counsel, hereby moves to dismiss Plaintiff’s (1) claims for copyright

infringement, as well as contributory, vicarious, and willful copyright infringement, (2) claims for

false distribution of copyright management information and removal of copyright management

information, and (3) claims for statutory damages and attorneys’ fees. In support, Romo, Inc.

submits its Memorandum of Law dated March 27, 2025, which is being filed contemporaneously

with this Notice.
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Dated: March 27, 2025                 Respectfully submitted,

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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

SOPHIA PARKER STUDIOS, INC.               Case No. 1:24-cv-02086-PAB
(t/a WIFE NYC),
                                          Judge Pamela A Barker
        Plaintiff,
                                          Magistrate Judge Reuben J. Shepherd
v.

ALICE TEMPERLEY MBE, TMLL LTD.
(t/a TEMPERLEY LONDON), TEMPERLEY
HOLDINGS LTD. (t/a TEMPERLEY
HOLDINGS), ROMO LTD. (t/a ROMO
and/or THE ROMO GROUP), ROMO
(HOLDINGS) LTD., ROMO, INC. (t/a
ROMO FABRICS AND
WALLCOVERINGS and ROMO USA), THE
ROMO GROUP LTD., AND DOES 1-20,
inclusive,

        Defendants.


          DEFENDANT ROMO, INC.’S MEMORANDUM IN SUPPORT OF
     ITS MOTION TO DISMISS FIRST AMENDED COMPLAINT PURSUANT TO
               FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
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                BRIEF STATEMENT OF ISSUES TO BE DECIDED

1. Does Plaintiff fail to state a claim for direct copyright infringement against Romo, Inc.

   where Plaintiff alleges that Romo, Inc. infringed the copyright in the sculpture by allegedly

   reproducing photographs of the sculpture, even though Plaintiff’s photograph registrations

   specifically exclude the sculpture and do not cover the sculpture?

2. Does Plaintiff also fail to state a claim for direct copyright infringement against Romo, Inc.

   where Plaintiff fails to plausibly allege any facts that indicate Romo, Inc. engaged in any

   copying of the allegedly original constituent elements Plaintiff’s Photographs?

3. Does Plaintiff also fail to state a claim for direct copyright infringement against Romo, Inc.

   where Plaintiff fails plausibly allege that Romo, Inc. accessed the sculpture and

   photographs?

4. Does Plaintiff fail to state a claim for vicarious or contributory infringement against Romo,

   Inc. where Plaintiff fail to allege any facts that suggest Romo, Inc. either had knowledge

   of any allegedly infringing activity of any other Defendant, or materially contributed to the

   alleged infringement?

5. Does Plaintiff fail to state a cognizable claim under the Digital Millenium Copyright Act

   where Plaintiff does not allege that its works included proper copyright management

   information and that Romo, Inc. removed Plaintiff’s copyright management information or

   distributed works with Plaintiff’s copyright management information altered or removed?

6. Is Plaintiff precluded from seeking statutory damages and/or attorneys’ fees for alleged

   copyright infringement when Plaintiff registered its works well beyond the three-month

   post-publication window under the Copyright Act, 17 U.S.C. § 412?




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7. Does Plaintiff fail to state claims against Romo, Inc. where Plaintiff premises virtually all

   its allegations on “information and belief” pleading?

                             SUMMARY OF ARGUMENT

1. Where the plaintiff fails to plausibly allege any facts that a defendant engaged in purported

   copyright infringement, the plaintiff fails to state a claim for direct copyright infringement.

2. A plaintiff fails to plausibly allege copyright infringement of a sculpture where the plaintiff

   alleges only that the defendant reproduced photographs of the sculpture.

3. A plaintiff fails to plausibly allege copyright infringement of a sculpture where the

   reproduced photographs at issue are independently copyrighted, and on the face of their

   registrations, specifically exclude the sculpture.

4. Where a plaintiff fails to plausibly allege any facts that a defendant copied or accessed the

   plaintiff’s photographs or sculpture, the plaintiff fails to state a claim for direct copyright

   infringement.

5. Where the plaintiff fails to allege that a defendant infringed any copyrightable aspect of a

   photograph, the plaintiff fails to state a cognizable claim for copyright infringement.

6. Where the plaintiff fails to plausibly allege any facts suggesting that an individual

   defendant had knowledge of any allegedly infringing activity—much less materially

   contributed to it—the plaintiff fails to state a claim for vicarious or contributory

   infringement against the individual defendant.

7. Where the plaintiff fails to allege that its works were published in connection with its

   copyright management information, and that the defendant removed the plaintiff’s

   copyright management information or distributed any of the plaintiff’s copyright

   management information, the plaintiff fails to plead a cognizable claim under the Digital

   Millenium Copyright Act, 17 U.S.C. § 1202.


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8. A plaintiff is precluded from recovering statutory damages or attorneys’ fees pursuant to

   17 U.S.C. § 412 where the plaintiff did not register a copyright for its work within three

   months of the work’s initial publication.

9. Where the plaintiff premises virtually all its claims against an individual defendant on

   “information and belief” pleading, without alleging plausible facts, the plaintiff fails to

   state a claim against the defendant.




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        Defendant Romo, Inc. moves to dismiss Plaintiff Sophia Parker Studios’ (“Plaintiff”) First

Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) for failing to plausibly

allege claims upon which relief can be granted.

I.      INTRODUCTION

        A complaint is not a license to go fishing. Indeed, subjective belief—underlying nearly

two hundred conclusory paragraphs—is no substitute for factual allegations. Plaintiff is now on

its second complaint in six months and has had nearly a year to investigate and determine whether

a suit against Defendant Romo, Inc. (“Romo, Inc.”) is proper. Plainly, it is not. As discussed below,

Plaintiff’s First Amended Complaint is a Gordian Knot made up of irreconcilable copyright

infringement allegations, baseless Digital Millenium Copyright Act (“DMCA”) claims, statutorily

barred damages theories, and contradictory narratives of indirect liability. Ultimately, Plaintiff

fails to plausibly allege facts to support any of its claims.

        First, Plaintiff accuses Romo, Inc. of infringing three copyrights: (1) a sculpture (U.S.

Copyright Reg. No. VA 2-342-734 (MEMPHIS CHAINSAW)); (2) Photographs of the sculpture

(U.S. Copyright Reg. No. VA 2-352-960 (Registered April 27, 2023)); and (3) more Photographs

of the sculpture (U.S. Copyright Reg. No. VA 2-420-961 (Registered November 4, 2024))1. ECF

No. 22, ¶1 (First Amended Complaint, “FAC”). As to all Defendants, including Romo, Inc.,

Plaintiff’s copyright infringement claims are premised on a single core act of alleged copying: the

“unauthorized reproduction” of photographs from Plaintiff’s Instagram account. (See, e.g., FAC,

¶100.) Nothing more. Indeed, Plaintiff does not allege that Romo, Inc. accessed or copied the

MEMPHIS CHAINSAW sculpture. Instead, Plaintiff alleges that Romo, Inc. infringed the



1
  Notably, the Nov. 4, 2024, photograph copyright was registered nearly two years after Plaintiff
first “discovered” the allegedly infringing works, seven months after it sent the cease-and-desist
letter, and three weeks before it filed this lawsuit. (FAC, ¶¶7, 145.)


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sculpture copyright by allegedly reproducing photographs. (FAC, ¶100.) That proposition makes

no sense, in that it contradicts well-established law that rights in photographs do not extend to the

underlying objects, merchandise, or artwork depicted by the photographs, as these are separate

works. See Meshwerks, Inc. v. Toyota Motor Sales U.S.A., Inc., 528 F.3d 1258 (10th Cir. 2008);

Masterson Marketing, Inc. v. KSL Recreation Corp., 495 F. Supp. 2d 1044, 1048 (S.D. Cal. 2007)

(“[A] photograph does not and cannot create a copyright in the underlying subject matter.”).

Accordingly, the alleged act of copying the photographs does not constitute infringement of the

sculpture. Yet, Plaintiff nevertheless attempts to bootstrap these claims, appearing to add the

sculptural work to this suit for the sole purpose of seeking damages to which it is not entitled.

Having pleaded no other acts to establish that Romo, Inc. accessed or copied the sculpture itself,

Plaintiff’s copyright infringement claims should be dismissed.

          Second, with respect to the photographs, Plaintiff fails to identify any copyrightable aspect

of the photographs that was allegedly infringed. See Meshwerks, 528 F.3d at 1264 (A photograph

may show copyrightable authorship involved in its creation, for instance, “positioning,

background, lighting, shading, and the like[.]”). To the extent the First Amended Complaint can

be interpreted to imply that the angles and lighting of the photographs comprise Plaintiff’s creative

and original contribution (FAC, ¶4), Plaintiff fails to allege that any of these aspects were

infringed, and certainly does not allege that any of Romo, Inc.’s interiors products, as well as its

marketing materials of the same, copied the photographs’ angles and lighting. Indeed, Plaintiff’s

own side-by-side comparison of these materials confirms that that it lacks a legally cognizable

claim for copyright infringement.2

          Third, Plaintiff fails to plausibly allege facts in support of its claims of vicarious and



2
    For the very same reasons, Plaintiff’s claim of willful infringement likewise fails.


                                                    2
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contributory infringement against Romo, Inc. At bottom, Plaintiff alleges that every defendant is

simultaneously supervised and controlled by, and supervising and controlling, the acts of every

other defendant. That’s non-sensical. Worse, Plaintiff accuses Romo, Inc. of being vicariously

liable for the acts of its foreign owners, and, somehow, vicariously liable for the acts of the

Temperley Defendants—foreign entities that are not part of the Romo corporate family. Plaintiff

does not provide information to support these paradoxical allegations. In fact, Plaintiff fails to

allege any facts that Romo, Inc. had knowledge of, or materially contributed to, any alleged

copyright infringement on the part of its parent companies and the Temperley Defendants. Plaintiff

likewise fails to describe how Romo, Inc. supervised or wielded control of any kind over its foreign

parents and the Temperley Defendants. Rather, Plaintiff alleges that Romo, Inc. is a wholly-owned

subsidiary, a status in the corporate ladder from which the power to “supervise and control” cannot

reasonably be inferred. (FAC, ¶52)

       Fourth, Plaintiff improperly attempts to transmute its deficient copyright infringement

claims into DMCA claims. (FAC, ¶¶177-186); see 17 U.S.C. §1202 (for the distribution of false

copyright management information (“CMI”) and removal of CMI). Yet Plaintiff does not—

because it cannot—allege that Plaintiff created Romo, Inc.’s PDF printouts and interiors products,

or that Romo, Inc. removed Plaintiff’s copyright management information from PDFs,

advertisements, pillows, and swatch books that Plaintiff did not create. Rather, Plaintiff alleges

that Romo, Inc.’s products are derivative works of Plaintiff’s photographs, and that therefore,

Romo, Inc.’s distribution of Romo products and Romo advertisements constituted the removal of

Plaintiff’s CMI and the distribution of false CMI. (FAC, ¶¶177-186.) Plaintiff’s DMCA claims

lack factual underpinning. See 17 U.S.C. §1202. Ultimately, Plaintiff does not allege the requisite

facts indicating that Romo, Inc. (1) provided or distributed Plaintiff’s sculpture and photographs,




                                                 3
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(2) provided or distributed false copyright management information (least of all false copyright

management information with the intent to conceal infringement), or (3) intentionally removed

Plaintiff’s copyright management information from its sculpture and photographs.

        Fifth, the copyright registrations at issue indicate that Plaintiff “created” and publicized the

works in 2019 and 2020 yet did not register them until 2023 and 2024. Given the works were

registered well outside the three-month post-publication window, under the Copyright Act,

Plaintiff cannot seek statutory damages and attorney’s fees, and those claims should therefore be

dismissed. 17 U.S.C. § 412 (requiring registration within three months of publication as a

prerequisite for seeking statutory damages and attorney’s fees). Even though Plaintiff’s counsel

publicly advertises this information to prospective clients on her own website3, Plaintiff

nevertheless re-raised its demand for statutory damages in the First Amended Complaint,

incorrectly representing that it is entitled to such relief. (FAC, ¶¶153, 163; Prayer for Relief, ¶3.)

        Finally, Plaintiff attempts to obfuscate the conclusory character of its allegations with the

same tired phrase: “upon information and belief.”4 Reciting these words cannot rescue this First

Amended Complaint from dismissal when Plaintiff repeatedly fails to disclose the basis of the

alleged factual “information” or the basis for its “beliefs”.

II.     LEGAL STANDARD

        A plaintiff is required to plead “enough facts to state a claim to relief that is plausible on

its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). This requires more than labels and



3
  “Moreover, in instances where a copyright holder took the initiative to register their work within
three (3) months after first publishing it or prior to the infringement at issue taking place, the law
provides that the copyright holder can pursue the recovery of attorneys’ fees and statutory damages
in a copyright infringement lawsuit. Because there are certain instances where the pursuit of
statutory damages is more advantageous than the pursuit of actual damages, it is ideal for a work
or art to be timely registered.” https://www.abrunolaw.com/copyright-regstrations
4
  Plaintiff does so no fewer than 69 times in its First Amended Complaint.


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conclusions, and a formulaic recitation of the elements of a cause of action will not do. “Factual

allegations must be enough to raise a right to relief above the speculative level on the assumption

that all of the complaint’s allegations are true.” Id. at 545; Ashcroft v. Iqbal, 556 U.S. 662 (2009).

While courts must accept a complaint’s allegations as true, this applies only to well-pleaded factual

allegations, not to legal conclusions. A pleading that offers mere “labels and conclusions” is

insufficient, and “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Ashcroft, 556 U.S. at 678 (citing Twombly, 550 U.S. at

555).

III.     ARGUMENT

         Plaintiff has not plausibly alleged facts to support a claim that Romo, Inc. infringed,

willfully or otherwise, its sculpture and photograph copyrights. Moreover, even if it did properly

plead a claim for copyright infringement, Plaintiff has not plausibly alleged facts that Romo, Inc.

is liable for contributory and vicarious infringement. Similarly, Plaintiff has not plausibly alleged

facts to support its claim that Romo, Inc. distributed false CMI or removed Plaintiff’s CMI in

violation of 17 U.S.C. § 1202. Finally, Plaintiff fails to plausibly allege facts to support a claim

for recovery of statutory damages and attorney’s fees because Plaintiff did not register its

copyrights within three months of publication and before the alleged infringement. Plaintiff’s First

Amended Complaint against Romo, Inc. should therefore be dismissed pursuant to Rule 12(b)(6).

         A.     Plaintiff Fails to Plausibly Allege Infringement of the MEMPHIS
                CHAINSAW Sculpture (Registration VA 2-342-734).

                1.     Romo, Inc. did not copy the sculpture.

         The Court should dismiss all claims with respect to U.S. Copyright Reg. No. VA 2-342-

734 (MEMPHIS CHAINSAW). Plaintiff has not alleged that Romo, Inc. infringed the copyright

to the sculpture. Plaintiff does not claim that Romo, Inc. created replicas of the sculpture, molds



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or miniatures of the sculpture, or other substantially similar plant sculptures. Plaintiff has not cited

to any Romo, Inc. product that could conceivably be interpreted as a sculpture. Instead, Plaintiff

alleges—unsurprisingly, “[u]pon information and belief”—that “Romo, Inc. reproduced one or

more of the Photographs found on Plaintiff’s Instagram account, @wifenyc, to create a pattern or

digitally rendered copy of the [sculpture] that was then used to create the Unauthorized Farrah

Interiors Products.” (FAC, ¶100 (emphasis added).)

        Here, the works that are alleged to have been copied are the photographs, not the sculpture,

and Plaintiff represents to this Court that these photographs are original works of authorship that

have been granted copyrights of their own. (FAC, ¶¶1, 4.) Yet Plaintiff is attempting to plead

infringement of the sculpture by dint of photograph infringement, even though the sculpture is

specifically excluded on the face of the photograph’s copyright registration. ECF Doc. 22-2, 7

(Ex. B) (“Limitation of copyright claim . . . Material excluded from this claim: sculpture”)

(emphasis added).

        In any event, for copyrightability, courts have repeatedly delineated the distinction between

images and the underlying subject matter they depict. There may be copyrightable authorship

involved in creating a photograph, for example, “positioning, background, lighting, shading, and

the like.” Meshwerks, 528 F.3d at 1264. Even so, “the law is becoming increasingly clear: one

possesses no copyright interest in reproductions . . . when these reproductions do nothing more

than accurately convey the underlying image.” Id. at 1267 (citation omitted). In fact, “a photograph

does not and cannot create a copyright in the underlying subject matter.” Masterson Marketing,

495 F. Supp. 2d at 1048. Indeed, “[t]o be original, the work must be ‘original to the author.’”

Tomaydo-Tomahhdo, LLC v. Vozary, 629 F. App’x 658, 660 (6th Cir. 2015). “In other words, it

must be ‘independently created by the author’ and possess ‘at least some minimal degree of




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creativity.’” Id. (quoting Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 343 (1991)).

For example, in Pohl v. MH Sub I LLC, the Eleventh Circuit noted that what makes a photograph

of a sculpture sufficiently original are the photographer’s—rather than the sculptor’s—creative

choices:

        For example, this Court has noted that a photograph of a sculptural artwork—the
        Bird Girl statue in Savannah’s Bonaventure Cemetery—was sufficiently original
        for copyright protection, as it involved minimal creativity in the “selection of
        lighting, shading, timing, angle, and film” for the picture. Leigh v. Warner Bros.,
        Inc., 212 F.3d 1210, 1215 (11th Cir. 2000). Likewise, we have recognized that
        photographs of motorcycles taken for advertising materials were copyrightable
        where the photographer “made all decisions regarding lighting, appropriate camera
        equipment and lens, camera settings and use of the white background, which was
        consistent with the industry practice he had noted in studying other advertising
        photographs.” Latimer v. Roaring Toyz, Inc., 601 F.3d 1224, 1233-35 (11th Cir.
        2010).

770 F. App’x 482, 487 (11th Cir. 2019).

        Consistent with this principle, in Meshwerks, the Tenth Circuit found no originality in the

digital images at issue because “Meshwerks’ models depict[ed] nothing more than unadorned

Toyota vehicles—the car as car”:

        As applied to a photograph of a pre-existing product, that bedrock principle [of
        originality] means that the photographer manifestly cannot claim to have originated
        the matter depicted therein . . . The upshot is that the photographer is entitled to
        copyright solely based on lighting, angle, perspective, and the other ingredients
        that traditionally apply to that art-form.” . . . [T]he facts in this case
        unambiguously show that Meshwerks did not make any decisions regarding
        lighting, shading, the background in front of which a vehicle would be posed, the
        angle at which to pose it, or the like—in short, its models reflect none of the
        decisions that can make depictions of things or facts in the world, whether Oscar
        Wilde or a Toyota Camry, new expressions subject to copyright protection.

528 F.3d at 1265 (internal citations omitted).

        Similarly, in ABS Ent., Inc. v. CBS Corp., the Ninth Circuit reiterated and applied this

principle from Mershwerks, observing in the context of remastered sound recordings that “it should

be evident that a remastered sound recording is not eligible for independent copyright protection



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as a derivative work unless its essential character and identity reflect a level of independent sound

recording authorship that makes it a variation distinguishable from the underlying work.” 908 F.3d

405, 417 (9th Cir. 2018).

       Here, Plaintiff cannot permissibly allege facts that Romo, Inc. accessed and copied the

sculpture by alleging that Romo, Inc. reproduced the copyrighted photographs because the

sculpture and photographs are separate works. Thus, Plaintiff’s “reach-through” allegation is

improper, since as discussed above, the works must be distinctly original and independently

creative to be copyrightable. See Pohl, 770 F. App’x at 487 (“[E]lements of originality in a

photograph may include ‘posing the subjects, lighting, angle, selection of film and camera, evoking

the desired expression, and almost any other variant involved.’”) (quoting Latimer, 601 F.3d at

1234). And only by “copying of constituent elements of the work that are original” can there be a

claim for copyright infringement. Feist, 499 U.S. at 361 (emphasis added). In short, what is

original to the sculpture as to make it copyrightable cannot be what makes the photographs original

and copyrightable. Therefore, Plaintiff’s claim that Defendants impermissibly copied the

photographs’ original and creative expression (by reproducing the photographs) cannot be

transmuted into an allegation that Defendants copied the sculpture’s original and creative

expression. Since Plaintiff has failed to plausibly allege facts that Romo, Inc. copied the sculpture,

Plaintiff has not pleaded a legally cognizable claim for copyright infringement, let alone willful

infringement, of the sculpture.

               2.      Romo, Inc. never accessed or had the opportunity to access the
                       sculpture.

       More fundamentally, Plaintiff has not plausibly alleged facts to support a claim for

copyright infringement against Romo, Inc. because Plaintiff has not alleged facts tending to

establish that Romo, Inc. ever saw the sculptural work, or that it ever had an opportunity to see the



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sculptural work. Indeed, Plaintiff has provided nothing to establish that the sculptural work was

widely disseminated and commercially well-known. See Loomis v. Cornish, 836 F.3d 991, 995

(9th Cir. 2016) (to demonstrate widespread dissemination, the plaintiff can rely on “the degree of

a work’s commercial success and on its distribution through . . . relevant mediums”); Art Attacks

Ink, LLC v. MGA Ent. Inc., 581 F.3d 1138, 1143-45 (9th Cir. 2009) (no access shown under wide

dissemination theory); Three Boys Music Corp. v. Bolton, 212 F.3d 477, 482 (9th Cir. 2000)

(upholding the jury’s conclusion that there was not widespread dissemination of a song given that

it “never topped the Billboard charts or even made the top 100 for a single week,” “was not released

on an album or compact disc until . . . after [defendants] wrote their song,” the experts “testified

that they never heard” the song, and defendants “produced copies of ‘TV Guide’ from 1966 [the

year the protected song was released] suggesting that the television shows playing the song never

aired in Connecticut [where defendants lived at the time]”). Plaintiff does not allege that the

sculpture was displayed anywhere outside of its New York studios, nor that any individual or entity

based in this District—let alone the State of Ohio—has ever heard of the sculpture’s existence.

The only conclusory allegation being made against the Romo, Inc. is that it (upon information and

belief) viewed photographic works on an Instagram page. FAC, ¶100. This allegation is baseless.

Plaintiff has not claimed that Romo, Inc. even has its own Instagram page, or that it followed and

interacted in any way with Plaintiff’s Instagram account. The mere allegation that Plaintiff posted

online about the sculpture is insufficient, since Plaintiff must plead sufficient facts to demonstrate

that access was “a reasonable possibility, not merely a bare possibility.” Art Attacks, 581 F.3d at

1143, 1145 (insufficient that the work was on a website).

       B.      Plaintiff Fails to Plausibly Allege Facts Supporting its Claim that Romo, Inc.
               Infringed the Photographs (VA 2-352-960 (Registered April 27, 2023) and
               VA 2-420-961 (Registered Nov. 4, 2024)).

       Plaintiff’s copyright infringement claims with respect to the photographs should also be


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dismissed because Plaintiff does not allege that Romo, Inc. copied the allegedly “original”

elements of its copyrighted photographs. Likewise, Plaintiff does not plausibly allege that Romo,

Inc. had access to Plaintiff’s photographs on its Instagram page. Ultimately, the Court should

determine that Romo’s products and advertising do not infringe the photographs, dismissing those

claims with prejudice.

               1.        Plaintiff does not allege that Romo, Inc. copied the photographs.

       To state a claim for copyright infringement of its photographs, Plaintiff must plausibly

allege two things: “(1) ownership of a valid copyright, and (2) copying of constituent elements of

the work that are original.” ATC Distribution Grp., Inc. v. Whatever It Takes Transmissions &

Parts, Inc., 402 F.3d 700, 705 (6th Cir. 2005) (quoting Feist, 499 U.S. at 361); Malibu Textiles,

Inc. v. Label Lane Int’l, Inc., 922 F.3d 946, 951 (9th Cir. 2019) (citations omitted). Moreover,

Plaintiff must plausibly allege that Romo, Inc. had access to the allegedly infringed work, and that

the two works are substantially similar in both idea and expression of that idea. Pasillas v.

McDonald’s Corp., 927 F.2d 440, 442 (9th Cir. 1991) (citation omitted). Indeed, copyright

protection extends only to those elements of a work original to the author, and thus, assessing

substantial similarity requires close consideration of the aspects of the plaintiff’s work that are

protectable, and whether “the defendant’s copying substantially appropriated those protected

elements.” Harney v. Sony Pictures TV, Inc., 704 F.3d 173, 179 (1st Cir. 2013). This is so because

a work that is sufficiently original to be copyrighted may nonetheless contain unoriginal elements.

Id. at 178 (citing Feist, 499 U.S. at 348). Any determination regarding the protectable aspects of

the work thus requires the Court to “dissect[] the copyrighted work and separate[] its original

expressive elements from its unprotected [elements].” Coquico, Inc. v. Rodriguez-Miranda, 562

F.3d 62, 68 (1st Cir. 2009).

       Moreover, absent evidence of direct copying, a plaintiff must establish substantial


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similarity between the protected aspects of their copyrighted work vis-à-vis the defendant’s work

to succeed on a copyright infringement claim. See, e.g., Pasillas, 927 F.2d at 440. To analyze

substantial similarity, courts conduct an extrinsic test and an intrinsic test; the extrinsic test is an

objective comparison between the elements of each work and the intrinsic test is a subjective

comparison between the impression that each work created. See, e.g., Unicolors, Inc. v. H&M

Hennes & Mauritz, L.P., 52 F.4th 1054, 1084 (9th Cir. 2022); Malibu Textiles, 922 F.3d at 952.

“There is ample authority for holding that when the copyrighted work and the alleged infringement

are both before the court, capable of examination and comparison, non-infringement can be

determined on a motion to dismiss.” Christianson v. W. Pub. Co., 149 F.2d 202, 203 (9th Cir.

1945); see also Advanta-STAR Automotive Research Corp of America v. Search Optics, LLC, 672

F. Supp. 3d 1035, 1046 (S.D. Cal. 2023); Campbell v. Walt Disney Co., 718 F. Supp. 2d 1108,

1111-12 (N.D. Cal. 2010).

       Here, Plaintiff fails to identify any copyrightable aspect of the photographs that was

allegedly copied by Romo, Inc. Plaintiff implies that the photographs contain some degree of

creativity, from which one might infer a belief by Plaintiff in some protectable elements, namely,

Plaintiff’s “depict[ion] [of] different angles and lighting of the Artwork.” (FAC, ¶4.) Plaintiff’s

pleading does not refer to any other alleged creative or expressive elements. However, an objective

side-by-side comparison of Plaintiff’s photographs and Romo, Inc.’s products demonstrates that

none of Plaintiff’s choices with respect to shading, lighting, or angling are present in any of the

allegedly infringing products or advertising works:




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(FAC, ¶4.)




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(FAC, ¶31.)

       Plaintiff asserts that the products are strikingly and substantially similar to the photographs.

Yet Plaintiff does not specify what those striking photographic similarities are, other than to

highlight the features of the underlying sculptural work. However, given that the photographs and

allegedly infringing products are both before this Court, the Court may objectively compare the

photographic elements to the allegedly infringing products and determine that the materials plainly

do not infringe the photographs and dismiss these claims with prejudice. See, e.g., Unicolors, 52


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F.4th at 1084; Malibu Textiles, 922 F.3d at 952; Christianson, 149 F.2d at 203. Still, even without

the benefit of this objective side-by-side comparison, that Romo, Inc. did not copy any of

Plaintiff’s original or creative choices is apparent from Plaintiff’s own allegations. Other than in

paragraph 4, the words “lighting” and “angles” do not appear anywhere else in the First Amended

Complaint. Plaintiff attempts to cure this fatal deficiency by focusing on the sculpture’s qualities,

rather than the photographs’ allegedly original, expressive, and copyrightable elements. Tellingly,

throughout the amended pleading, Plaintiff repeatedly interjects references to the sculpture

whenever it asserts a photograph infringement claim. These deliberate pleading choices appear

calculated to improperly “boost” the photograph infringement claims and to blur the lines between

the photographs’ and sculpture’s original, expressive, and independently copyrightable elements.

Given these deficiencies, Plaintiff has not alleged facts plausibly supporting a claim that Romo,

Inc. copied the photographs, and the claim should be dismissed on that basis alone.

               2.      Plaintiff does not plausibly allege that Romo, Inc. had access to
                       Plaintiff’s photographs.

       Plaintiff also fails to allege that Romo, Inc., including any employee of Romo, Inc., had

access to Plaintiff’s Instagram page. Plaintiff simply claims that Romo, Inc. is liable for directly

reproducing the Photographs from Plaintiff’s Instagram account (e.g., direct copyright

infringement): “[u]pon information and belief, Romo, Inc. reproduced one or more of the

Photographs found on Plaintiff’s Instagram account, @wifenyc, to create a pattern or digitally

rendered copy of the [sculpture] that was then used to create the Unauthorized Farrah Interiors

Product.” (FAC, ¶100.) But Plaintiff does not plead any factual allegations making this possible,

not even alleging that Romo, Inc. has an Instagram account. Plaintiff certainly could have done

this, as it alleges that Alice Temperley and Temperley London have distinct Instagram accounts

but makes no attempt at naming the specific owner of the @romo_fabrics Instagram account.



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(FAC, ¶108 (“ROMO’s Instagram account, @romo_fabrics”.)

       Likewise, Plaintiff does not adequately allege that “access” to the photographs was a

reasonable possibility. Just as it failed to do with respect to the sculptural work, Plaintiff has not

pleaded any fact that would establish that the photographs were widely disseminated or

commercially available, either in 2019, 2020, or 2022. See Loomis, 836 F.3d at 995; Art Attacks,

581 F.3d at 1143-45. Plaintiff does not share how many Instagram followers it had as of 2019,

2020, or 2022. It only shares that “[a]s of the date of this First Amended Complaint, Plaintiff’s

Instagram account has 98,000 followers.” (FAC, ¶66 (emphasis added).) Indeed, based on

Plaintiff’s screenshots, the Instagram posts at issue appear to have had a rough average of 1,500

“likes” or user interactions, and at most, 2,708 “likes” between September 30, 2019, and March

13, 2025, the date of the First Amended Complaint. (FAC, ¶4. (nearly four and a half years).)

Plaintiff provides no explanation for such plain evidence of low user awareness—evidence that

directly contradicts its “wide dissemination” claims.

       Tellingly, Plaintiff does not provide any metrics that would indicate whether its

photographs reached audiences far and wide, or that the photographs were ever republished by

widely disseminated magazines, newspapers, or other online media. Plaintiff does not describe

anyone of note or mass following who may have discussed, highlighted, or reposted the

photographs. Plaintiff does not allege that any defendant ever followed or otherwise interacted

with Plaintiff’s Instagram page. Indeed, Plaintiff does not allege that any individual or social media

account based in this District—let alone the State of Ohio—has ever interacted with its Instagram

page or been aware of Plaintiff’s existence. Plaintiff simply released the photographs into the

global square—the internet—and deems that to be sufficient enough. As discussed above, the

allegation that Plaintiff posted online about the photographs is insufficient. Plaintiff is required to




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plead sufficient facts to demonstrate that access was “a reasonable possibility, not merely a bare

possibility.” Art Attacks, 581 F.3d at 1143 (insufficient that the work was on a website).

Accordingly, Plaintiff’s claims regarding the photographs, including its claims for willful

infringement, should be dismissed.

       C.      The Complaint Fails to Plausibly Allege Sufficient Facts Supporting a Claim
               for Vicarious or Contributory Infringement Against Romo, Inc.

       To state a claim for contributory infringement, a plaintiff must allege facts that a defendant

“with knowledge of the infringing activity, induces, causes, or materially contributes to the

infringing conduct of another.” Bridgeport Music, Inc. v. Rhyme Syndicate Music, 376 F.3d 615,

621 (6th Cir. 2004); Bridgeport Music, Inc. v. WM Music Corp., 508 F.3d 394, 398 (6th Cir. 2007)

(internal punctuation and citations omitted). That is, “a plaintiff must allege: (1) direct copyright

infringement [by] a third-party; (2) knowledge by the defendant that the third-party was directly

infringing; and (3) [defendant’s] material contribution to the infringement.” Parker v. Google, Inc.,

242 F. App’x 833, 837 (3d Cir. 2007). And with respect to scienter requirement, contributory

infringement requires that the secondary infringer know or have reason to know of the direct

infringement. Arista Recs., LLC v. Doe 3, 604 F.3d 110, 118 (2d Cir. 2010); A&M Records, Inc.

v. Napster, Inc., 239 F.3d 1004, 1020 (9th Cir. 2001). To state a claim for vicarious infringement,

a plaintiff must allege facts that the defendant had the right and ability to supervise the infringing

activity. WM Music Corp., 508 F.3d at 400 (citation omitted).

       Here, Plaintiff makes sweeping indirect infringement claims, asserting that each defendant

supervised, controlled, or otherwise contributed to the allegedly infringing acts of every other

defendant. (FAC, ¶66-69.) Plaintiff’s sole allegation offered in support of these claims is premised

on nothing more than defendants’ ownership structure. (FAC, ¶¶52-55, 158-159) However,

Plaintiff admits that Romo, Inc. is a “wholly owned subsidiary” of an entire lineage of foreign



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companies. (FAC, ¶¶52-54.) Of these companies, only The Romo Group, Ltd. and Romo

(Holdings) Ltd. are accused of any involvement in product design. (FAC, ¶¶54-55.) In fact,

Plaintiff accuses Romo, Inc. only of manufacturing and selling products. (FAC, ¶52.) Nothing

more. Yet, Plaintiff claims (without any basis) that “[a]ll Defendants had an active role in the

design process of the Temperley London x ROMO ‘A World Less Ordinary’ Interiors collection.”

(FAC, ¶69.) Plaintiff directly contradicted this allegation by its earlier allegations against Romo,

Inc. in Paragraph 52. In any event, Plaintiff’s allegations fail to plausibly support a claim for

contributory infringement against Romo, Inc. because Plaintiff does not allege facts suggesting

that Romo, Inc. had knowledge of any allegedly infringing activity of any other defendant, much

less having materially contributed to it. Plaintiff fails to state a claim for vicarious liability against

Romo, Inc. because Plaintiff fails to allege that Romo, Inc. had the right and ability to supervise

any other defendants’ allegedly infringing activities. Rather, Plaintiff’s allegation that Romo, Inc.

is on the lowest rung of the Romo corporate structure supports precisely the opposite inference.

        D.      Plaintiff Fails to Adequately Plead a DMCA Claim for Violation of 17 U.S.C.
                § 1202.

        Plaintiff also fails to plausibly allege facts to support a claim that Romo, Inc. violated the

DMCA, 17 U.S.C. § 1202. In addition to copyright infringement, Plaintiff is asserting claims for

“Distribution of False Copyright Management Information in Violation of 17 U.S.C. § 1202.”

(FAC, ¶¶177-186.) As pleaded, Plaintiff’s DMCA claims are equally as meritless as its copyright

claims. The DMCA protects against the removal or alteration of copyright management

information (“CMI”), which is defined in part as identifying information about the author of a

work “conveyed in connection with” the copyrighted work. 17 U.S.C. § 1202(c). Mango v.

BuzzFeed, Inc., 356 F. Supp. 3d 368, 376 (S.D.N.Y. 2019), aff’d, 970 F.3d 167 (2d Cir. 2020). To

establish a removal violation under the DMCA, a plaintiff must plead (1) the existence of CMI on



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the infringed work, (2) removal or alteration of that information, and (3) the removal or alteration

was done intentionally. Craig v. UMG Recordings, Inc., 380 F. Supp. 3d 324, 337 (S.D.N.Y.

2019). Here, the screenshots of the photographs provided by Plaintiff demonstrate that Plaintiff

did not include its identifying information when it allegedly posted the photographs. (FAC, ¶4.)

As shown, there is no copyright notice or any reference to Sophia Parker Studios, Inc. in

connection with the photographs. (FAC, ¶4.) Instead, Plaintiff alleges that the photographs were

posted to an Instagram account called @WIFENYC, which Plaintiff now claims as its trade name.

(FAC, ¶166.) However, Plaintiff has not alleged or provided any documentation showing that

WIFENYC was its copyright ownership information and Sophia Parker Studios’ trade name.5

               1.      Plaintiff’s CMI removal claims should be dismissed.

       Despite Plaintiff’s habit of referencing its sculptural and photographic works

interchangeably, Plaintiff does not allege that any defendant removed Plaintiff’s CMI from the

sculptural work. Instead, Plaintiff alleges that “upon information and belief”, Romo, Inc. “made

identical copies of the Photographs posted on Plaintiff’s Instagram sans Plaintiff’s copyright

management information to be used in an ‘inspiration’ board or something similar so that the

employees/agents of the Temperley London Defendants and employees/agents of the ROMO

Defendants could view the Photographs and create the subsequent infringing fabrics and cushions

from the copies of the Photographs.” (FAC, ¶180 (emphasis added).) Plaintiff then claims that

Romo, Inc. made digital copies of the photographs which were then used by every single defendant

“to create digital and/or physical renderings of Plaintiff’s [sculpture].” (FAC, ¶180.) Then, from


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  For example, Plaintiff has not alleged that it obtained a Certificate of Assumed Name from the
City of New York or that it had filed a certificate with the New York Department of State. “Without
this certificate, a business must operate under its legal name, and use its legal name everywhere.
The legal name is the name on documents used for incorporation.” https://nyc-
business.nyc.gov/nycbusiness/description/certificate-of-assumed-name-for-corporations-llcs-lps-
and-notforprofits, last accessed March 26, 2025.


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those renderings, Romo, Inc. created, photographed, and advertised embroidered products. (FAC,

¶180.)

         Not one iota of factual detail is given to show that these allegations are anything other than

an elaborate work of fiction. On a motion to dismiss, the Court must credit only Plaintiff’s factual

allegations, rather than allegations that do nothing more than demonstrate Plaintiff’s vast

imagination. For example, Plaintiff does not describe how it came to believe Romo, Inc. made

copies of the photographs to be used as an “‘inspiration’ board or something similar”, or what it

did to investigate whether Romo, Inc. even creates “digital and/or physical renderings” to produce

embroidered products. Even if Romo, Inc. did create “digital and/or physical renderings” of

products, no basis is given for the allegation that Romo, Inc. makes “identical copies” of digital

subject matter beforehand, rather than simply create the renderings at the outset of any process.

         Frankly, Plaintiff’s baseless insistence on asserting that there be an act of carbon-copy

“reproduction” is illuminating. It appears Plaintiff is weaving this multi-step “reproduction”

narrative to create a DMCA claim where no plausible claim exists. For example, Plaintiff identifies

interiors products and advertisements that it did not create. Plaintiff then asserts that these materials

infringe its copyrights and therefore constitute “unauthorized copies of Plaintiff’s [sculpture] and

Photographs.” (FAC, ¶180.) However, Plaintiff also alleges without factual basis that Defendants’

creation of these materials must have involved an initial step of making “identical copies of the

Photographs posted on Plaintiff’s Instagram[.]” (FAC, ¶180.) Then, tellingly, Plaintiff asserts that

because the “identical copies” were made without Plaintiff’s CMI, Defendants surely must have

removed Plaintiff’s CMI. This is a self-serving story—not an allegation with factual

underpinnings. Ultimately, these circumstances are like those in Faulkner Press, L.L.C. v. Class

Notes, L.L.C., where the Court noted that “[a]n action for removal of copyright management




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information requires the information to be removed from a plaintiff's product or original work”

and found that, instead of the CMI having been “removed from the copyrighted works”, the

copyrighted “information from [the professor’s] courses was allegedly copied into a different

form and then incorporated into the [alleged infringer’s] note packages” being sold to students.

756 F. Supp. 2d 1352, 1359 (N.D. Fla. 2010) (“No copyright management information was

removed from Dr. Moulton’s product or original work.”). Even if one assumed that Romo, Inc.’s

interiors products infringed Plaintiff’s copyrights, Plaintiff would still lack a viable DMCA claim,

as the sculptures and photographs would have been copied and incorporated into entirely different

mediums and products. See id. The Court should dismiss Plaintiff’s CMI removal claims for failure

to state a claim.

                2.     Plaintiff’s distribution of false CMI claims should be dismissed.

        Plaintiff does not allege that Romo, Inc. ever distributed the sculpture (Reg. No. VA 2-

342-734) or Plaintiff’s Photographs of the sculpture (Reg. Nos. VA 2-352-960 and Reg. No. VA

2-420-961). It certainly does not allege that Romo, Inc. ever distributed the works knowing both

that the CMI was altered or incorrect and that distribution would induce infringement. See Mango,

356 F. Supp. 3d at 377 (“[T]he elements of the Distribution Prohibition are: (1) the existence of

CMI on the infringed work; (2) distribution of the infringed work containing missing and/or

altered CMI; (3) that the distribution was done knowing that the CMI was removed and/or altered

without permission; and (4) that the distribution was done knowing that it would induce, enable,

facilitate, or conceal an infringement”) (emphasis added). Rather, the products that were allegedly

distributed are Romo, Inc.’s products and materials, not Plaintiff’s sculpture and photographs.

Ultimately, Plaintiff does not—because it cannot—plead that it ever had its CMI attached to Romo,

Inc.’s swatch books, PDFs, and products. Plaintiff did not create or assemble the swatch books,

author the PDFs, embroider the products, snap photographs of the interiors, or develop Romo,


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Inc.’s advertising campaigns. Nor did Romo, Inc. ever remove Plaintiff’s non-existent CMI from

Romo, Inc.’s materials. There is therefore no cognizable false distribution claim to be made

pursuant to 17 U.S.C. § 1202.

       Regardless, even if Plaintiff raised a claim that Romo, Inc. featured Plaintiff’s sculpture

and photographs, Plaintiff’s allegation pursuant to § 1202(a) is still unavailing. Plaintiff

improperly groups the Romo entities together, alleging a violation of § 1202(a) by stating that on

“ROMO’s website . . . [t]he PDFs for the Farrah Agave and Farrah Lilac Ash fabrics and the Farrah

Agave and Farrah Lilac Ash cushions include the following copyright management statement: ©

Copyright The Romo Group 2024. All Rights Reserved” (FAC, ¶109) and alleges that this

“statement is a ‘blatant misrepresentation in violation of 17 U.S.C. § 1202(a) as Plaintiff is the

copyright holder to the [sculpture] featured on the Unauthorized Farrah Interiors Products, not the

ROMO Defendants.” (FAC, ¶110.) Nothing more. Of course, The Romo Group copyright

management statement is not false at all. See Faulkner, 756 F. Supp. 2d at 1359 (“Class Notes did

not add false copyright management information in violation of the DMCA by printing ‘Einstein's

Notes (C)’ on its note packages. The note packages that Class Notes produced were a different

product from Dr. Moulton’s work even if, as Faulkner Press alleges, they included materials from

Dr. Moulton’s work.”) (emphasis added).

       Compounding these deficiencies is the fact that Plaintiff also fails to allege that Romo, Inc.

acted with the necessary intent. In evaluating the statute’s scienter requirements, the court in

Harrington dismissed the plaintiff’s claim for not pleading sufficient facts to infer that the

defendant “knew or had a reasonable basis to know that the removal or alteration of [copyright

management information] or the distribution of [w]orks with [copyright management information]

removed will aid infringement.” Harrington v. Pinterest, Inc., No. 5:20-cv-05290-EJD, 2022 WL




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4348460, at *14-15 (N.D. Cal. Sept. 19, 2022) (emphasis added); see also Stevens v. Corelogic,

Inc., 899 F.3d 666, 674 (9th Cir. 2018) (requiring a plaintiff to demonstrate a “past pattern of

conduct or modus operandi” to establish the requisite mental state in the context of the DMCA, a

statute “requiring knowledge that a future action ‘will’ occur”). Instead of providing any factual

allegation that, when accepted as true, would tend to demonstrate a past pattern or modus operandi,

Plaintiff simply states the words “modus operandi” in a conclusory paragraph in which it circularly

claims that because Romo, Inc. distributes materials without Plaintiff’s CMI, it must be Romo,

Inc.’s pattern to do so. (FAC, ¶183.) For the foregoing reasons, Plaintiff’s DMCA claims should

be dismissed entirely.

       E.      Plaintiff May Not Seek Statutory Damages or Attorney’s Fees for the Alleged
               Copyright Infringement.

       The law is clear and 17 U.S.C. § 412 is unambiguous: A copyright holder cannot be

awarded statutory damages or attorney’s fees if the infringing activity started after the date of first

publication but before the effective date of registration of the work, unless the copyright for the

infringed work was registered within three months after the work was first published. 17 U.S.C.

§ 412. The Sixth Circuit has already conclusively addressed this issue:

       Section 412(1), however, limits the scope of [sections 504 and 505] by providing
       that ‘no award of statutory damages or of attorney’s fees . . . shall be made . . . [if]
       infringement of copyright in an unpublished work commenced before the effective
       date of its registration.’ 17 U.S.C. § 412(1). Thus, Johnson cannot recover statutory
       damages or attorney’s fees under the Copyright Act if Tosch’s infringement
       ‘commenced’ before the copyright was registered. . . [T]he simplicity of § 412
       confers upon all parties involved the clarity and low administrative costs of a
       brightline rule. These purposes [of the statute] would be thwarted by holding that
       infringement is ‘commenced’ for the purposes of § 412 each time an infringer
       commits another in an ongoing series of infringing acts. Under § 412, statutory
       damages and attorney's fees are reserved for infringers who had constructive notice
       that the work was covered by a valid copyright. Had Tosch checked the federal
       register when he first began his infringing activity, he would have discovered that
       Johnson’s copyright was not registered. If the incentive structure of § 412 is to be
       properly applied, then Johnson should not receive the reward of statutory damages,
       because he did not satisfy the requirement of prompt registration. Every court to


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        consider this question has come to the same conclusion; namely, that
        infringement ‘commences’ for the purposes of § 412 when the first act in a series
        of acts constituting continuing infringement occurs.

Johnson v. Jones, 149 F.3d 494, 504–06 (6th Cir. 1998)6. In fact, Plaintiff’s counsel publicly

advertises this information to prospective clients on her own website.7 Yet, Plaintiff still re-raised

its demand for statutory damages in the First Amended Complaint, incorrectly representing that it

is entitled to such relief under the law.8

        Here, Plaintiff alleges that the infringement began “in or around February or March 2022”,

an entire year before it registered the sculpture. (FAC, ¶8.) Coincidentally, Plaintiff did not register

the sculptural work until it “discovered” the “Farrah Kimono” in February 2023. (FAC, ¶¶7-8.)

The allegedly common infringing activity therefore occurred well before the earliest of the three

registration dates. Thus, Plaintiff could recover statutory damages and attorney’s fees only if the

registrations were made within three months after the works were first published. Yet, although

the registrations show the works as published in 2019 and 2020, Plaintiff did not register the works




6
  Other Circuits are in accord. See, e.g., Derek Andrew, Inc. v. Poof Apparel Corp., 528 F.3d 696,
699-702 (9th Cir. 2008) (A copyright holder cannot recover statutory damages and attorney’s fees
when it does not register the copyright before commencement of the infringement); Bouchat v.
Bon–Ton Dept. Stores, Inc., 506 F.3d 315, at 330 (4th Cir. 2007); Troll Co. v. Uneeda Doll Co.,
483 F.3d 150, 158 (2d Cir. 2007); Mason v. Montgomery Data, Inc., 967 F.2d 135, 144 (5th Cir.
1992).
7
  “Moreover, in instances where a copyright holder took the initiative to register their work within
three (3) months after first publishing it or prior to the infringement at issue taking place, the law
provides that the copyright holder can pursue the recovery of attorneys’ fees and statutory damages
in a copyright infringement lawsuit. Because there are certain instances where the pursuit of
statutory damages is more advantageous than the pursuit of actual damages, it is ideal for a work
or art to be timely registered.” https://www.abrunolaw.com/copyright-regstrations.
8
  Although this issue was raised in Romo, Inc.’s initial Motion to Dismiss (ECF No. 20), Plaintiff
did not provide any legal explanation or statutory basis for re-raising the demand for statutory
damages and attorneys fees in its First Amended Complaint. Worse, Plaintiff still has not described
what, if any, pre-suit diligence was done to determine that its demands for statutory damages and
attorney’s fees was appropriate.


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until February 2023 (sculpture), April 2023 (Photographs) and November 2024 (Photographs).9

Accordingly, Plaintiff is precluded from recovering attorney’s fees or statutory damages pursuant

to 17 U.S.C. 504(c), and those claims should therefore be dismissed. 17 U.S.C. § 412.

       F.      Plaintiff’s First Amended Complaint rests entirely on “information and
               belief” pleading.

       Though information and belief pleading can render a claim plausible under certain

circumstances, that is not so here, as Plaintiff must still plead supporting facts that render its claim

plausible beyond a personal belief that it is true. See, e.g., Germain v. Teva Pharms., USA, Inc.,

756 F.3d 917, 931 (6th Cir. 2014) (“[t]he mere fact that someone believes something to be true

does not create a plausible inference that it is true.”). Moreover, “[a] litigant cannot merely plop

‘upon information and belief’ in front of a conclusory allegation and thereby render it non-

conclusory.” Citizens United v. Schneiderman, 882 F.3d 374, 384–85 (2d Cir. 2018) (“Those

magic words will only make otherwise unsupported claims plausible when the facts are peculiarly

within the possession and control of the defendant or where the belief is based on factual

information that makes the inference of culpability plausible.”) (emphasis added and citation

omitted). Likewise, “merely pleading on information and belief, without more, is insufficient to

survive a motion to dismiss for failure to state a claim.” Kampschroer v. Anoka Cty., 57 F. Supp.

3d 1124, 1143-44 (D. Minn. 2014) (finding that the allegation, absent factual support that the

defendants actually viewed the plaintiffs’ medical and social security information, was insufficient

to survive a motion to dismiss “[i]n the post-Twombly and Iqbal era”); see also Ritani, LLC v.

Aghjayan, 880 F. Supp. 2d 425, 440–43 (S.D.N.Y., 2012) (finding the plaintiff “summarily

assumes or makes the legal conclusion that a copyright violation has been established” yet failed


9
 The dates of first publication are: September 30, 2019 (Sculpture, ECF No. 22-1, 2); September
30 to November 17, 2019 (Photographs, ECF No. 22-2, 2); and April 11, 2020 (Photographs, ECF
No. 22-2, 7)


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to plead (1) any specific actions or facts to support the claim that “any defendant used protected

aspects of those copyrighted collections in creating that portfolio”, (2) how the works were

“substantially similar”, (3) “how or when Amazing Settings violated any of the listed copyrights”,

and (4) whether any of the “listed registered copyrights were violated”). Here, Plaintiff relies on

“information and belief” pleading no fewer than 69 times, and almost always for the core

infringement allegations against Romo, Inc. (FAC, ¶¶32, 69, 100, 135, 159.) This is not a

complaint against Romo, Inc., but rather a statement of personal belief that should be dismissed.

IV.     CONCLUSION

        Plaintiff’s First Amended Complaint fails to plausibly allege facts supporting claims for

copyright infringement, including willful, contributory, and vicarious infringement, against Romo,

Inc. Likewise, Plaintiff fails to advance plausible claims for the removal of CMI and the

distribution of false CMI under the DMCA. Finally, Plaintiff is barred from seeking statutory

damages under 17 U.S.C. § 504(c)(1), as well as attorney’s fees, because the copyrighted works

were not registered until after the alleged infringement began and long after the works were first

published. For the foregoing reasons, Plaintiff’s complaint should be dismissed pursuant to Fed.

R. Civ. P. 12(b)(6) for failure to state a claim upon which relief can be granted.




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Dated: March 27, 2025                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Defendant Romo, Inc.’s Motion

to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6) and accompanying Memorandum

in Support were electronically filed on March 27, 2025 with the United States District Court for

the Northern District of Ohio through the Court’s CM/ECF system. Notice of the filing will be

sent by email to all counsel by operation of the Court’s electronic filing system and all parties may

access this filing through that system.

                                                      /s/ Meredith K. Collier
                                                      One of the Attorneys for Defendant Romo,
                                                      Inc.




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                          LOCAL RULE 7.1(f) CERTIFICATION

       Pursuant to Local Civil Rule 7.1(f), I hereby certify that this case has not been assigned to

any track and that the page limitation for this memorandum is fewer than twenty-five (25) pages,

pursuant to the Court’s non-document Order dated March 19, 2025. I hereby further certify that

the foregoing Memorandum adheres to this limitation.

                                                     /s/ Meredith K. Collier
                                                     One of the Attorneys for Defendant Romo,
                                                     Inc.




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